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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division


   AMERICAN CONSERVATIVE UNION,                )
   et al,                                      )
                                               )
          Plaintiffs,                          )
                                               )
          V.                                   )       Civil Action No. 1:24-cv-500 (RDA/LRV)
                                               )
   INSTITUTE FOR LEGISLATIVE                   )
   ANALYSIS, etal,                             )
                                               )
          Defendants.                          )



                           MEMORANDUM OPINION AND ORDER


          This matter comes before the Court on the Joint Motion to Dismiss the First Amended


   Complaint. Dkt. 19 (the “Motion”). This Court has dispensed with oral argument as it would not

   aid in the decisional process. See Fed. R. Civ. P. 78(b); Local Civil Rule 7(J). This matter has

   been fiilly briefed and is now irpe for disposition. Considering the Motion together with the

   Memorandum in Support (Dkt. 20), Plaintiffs’ Opposition (Dkt. 24), and Defendants’ Reply (Dkt.

   25), the Court GRANTS IN PART and DENIES IN PART the Motion for the reasons that follow.

                                        I.   BACKGROUND

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                                      A. Factual Background

          Plaintiffs in this action are the American Conservative Union (“ACU”) and the American


  Conservative Union Foundation (“ACUF”). Dkt. 15 at 1. Plaintiffs have brought this suit against

   former employees - Defendants Ryan McGowan, Frederick McGrath, Bryan Axler, Zoe Reese,


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           For purposes of considering the instant Motions to Dismiss, the Court accepts all facts
  contained within the Amended Complaint as true, as it must at the motion-to-dismiss stage.
  Ashcroft V. Iqbal, 556 U.S. 662,678 (2009); BellAtL Corp. v. Twombly, 550 U.S. 544, 555 (2007).

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   and Francis Finnegan^ - who Plaintiffs allege misappropriated Plaintiffs’ trade secret information

   to create Defendant Institute for Legislative Analysis (“ILA”).^ Dkt. 15^1. ILA was incorporated

   on March 16, 2023. Id. ^ 8.

           ACU is a 26 U.S.C. § 501(c)(4) non-profit organization that “serves to unite and mobilize

   conservatives around the tenants of conservatism, through various events, trainings, and policy

   forums around the country.” Id. t 6. ACUF is a 26 U.S.C. § 501(c)(3) non-profit organization

   that “serves to educate citizens about conservative principles.” Id. ^ 7. Together, Plaintiffs host

   the Conservative Political Action Conldrence also known as “CPAC.”        Id. ^ 21. ACUF, through

   its Center for Legislative Accountability, issues ratings of state and federal lawmakers based on

   their voting records. Id. To do so, they use a 50-state comprehensive scorecard for legislators.

   Id Tf 22.

           Plaintiffs use their own “methods, methodologies, and algorithms for rating public

   officials” and such tools are not publicly known. Id. ^ 23. These methods, methodologies, and

   algorithms include how each legislator is assessed, how voting records are considered, and the

   bills each legislator sponsors. Id. ^ 24. These methods have enhanced and developed Plaintiffs’

   donor base. Id. ^ 25.

           Plaintiffs require all employees to review and execute non-disclosure and confidentiality

   agreements (the “Agreements”).      Id. ^ 26.   Plaintiffs also have various written policies (the

    Policies”), which are provided to all employees, to safeguard their confidential information. Id.

   Included in the Policies is a restriction forbidding employees from disclosing confidential

   information outside of Plaintiffs without authorization and from using Plaintiffs’ work product for




           ^ Collectively, these defendants will be referred to as the “Individual Defendants.”

           ^ Together, ILA and the Individual Defendants will be referred to as the “Defendants.”
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   purposes not related to Plaintiffs. Id. ^ 27. The Agreements provide: (i) that an employee’s access

   to and use of confidential information is only for the purpose of their employment; (ii) that an

   employee is not to disclose confidential information without Plaintiffs’ written consent; (iii) that

   an   employee has a duty to protect Plaintiffs’ confidential information from unauthorized

   disclosure; (iv) confidential information remains Plaintiffs’ property; and (v) upon termination, an

   employee agrees to return or destroy all confidential information belonging to Plaintiffs. Id. ^ 29.

           On December 4, 2018, ACU filed a trademark application with the United States Patent

   and Trademark Office (the “USPTO”) for its “Star Mark,” which Plaintiffs depict on their

   scorecards so that they are recognizable. 7c/. H 31. The USPTO approved and registered the Star

   Mark on July 23, 2019. Id. The Star Mark appears below:

                                             AMERICAN
                                             CONSERVATIVE
                                             UNION




           McGowan was Plaintiffs’ Director of Finance and Operations.           Id. f 34.    As such,

   McGowan was responsible for overseeing and accounting for donations, payroll, accounts

   receivable, and accounts payable. Id.     He also had responsibiliti es within Human Resources,

   including approval of paid time off Id. As an employee, McGowan executed an Agreement. Id.

  f 34; Dkt. 15-3. Prior to the end of McGowan’s employment and without Plaintiffs’ authorization,

   McGowan manually overrode internal controls to add accrued leave time for himself, McGrath,

   Finnegan, and others, which time was worth approximately $14,000.            Id. ^ 36.    Thereafter,



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   McGowan resigned, and his last day was March 17, 2023 - the day after ILA was incorporated.

   Id. ^ 37.   Despite the Agreement, McGowan retained and continues to retain possession of

   Plaintiffs’ laptop computer.     Id. ^ 38.   The laptop computer contains Plaintiffs’ confidential

   information including information related to the legislator rating algorithm. Id.    39. To date,

   McGowan has not compensated Plaintiffs for the unauthorized PTO nor has he returned the laptop

   computer. Id. ^ 40.

          McGrath was employed           as Plaintiffs’   Director for the    Center for Legislative

   Accountability. Id. ^ 42. As the Director, McGrath directed the research and publication of

   Plaintiffs’ ratings of state and federal lawmakers. Id. McGrath also executed an Agreement that

   included confidentiality and non-disclosure provisions. Id. | 43; Dkt. 15-4. McGrath’s last day

   of employment was March 14, 2023. Dkt. 15 ^ 44.

          Axler was employed as a Policy Analyst for the Center for Legislative Accountability. Id.

   146.   In that role, Axler was responsible for researching and summarizing state and federal

   legislation, including how legislators voted, for part of CPAC’s ratings system. Id. Axler also

   executed an Agreement that included confidentiality and non-disclosure provisions. Id.    47; Dkt.

   15-5. Axler’s last day of employment was March 23, 2023. Dkt. 15H48.

          Reese was employed as the Policy Coordinator for the Center for Legislative

   Accountability. Id. TI 50.     As the Policy Coordinator, Reese was responsible for researching

   legislation and legislator voting records, which information was then used as part of CPAC’s

   ratings system. 7^/. ^ 51. Reese also executed an Agreement that included confidentiality and non¬

   disclosure provisions. Id. ^ 52; Dkt. 15-6. Reese’s last day of employment was March 23, 2023.

   Dkt. 15H53.




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           Finnegan was employed as a Government Relations Associate. Id. | 55. In that role, he

   was responsible for the statistics, data manipulation, and analytics that were used as part of

   CPAC’s ratings system. Id. Finnegan also executed an Agreement that included confidentiality

   and non-disclosure provisions. M ^ 56; Dkt. 15-7. Finnegan’s last day of employment was March

   14,2023. Dkt. 15H57.

           McGowan, McGrath, Axler, Reese, and Finnegan all gave notice of their intent to resign

   in March of2023. /<i. ^58. Shortly before, ILA was incorporated on March 16,2023. Id. Plaintiffs

   allege, upon information and belief, that ILA was incorporated by McGowan, McGrath, Axler,

   Reese, and/or Finnegan. Id. ^ 59.

           Plaintiffs allege, upon information and belief, that McGowan, McGrath, Axler, Reese, and

   Finnegan are utilizing “Plaintiffs’ confidential, proprietary and trade secret information for their

   own gain by forming ILA and directly competing with Plaintiffs.         Id.    60. ILA, like Plaintiffs,

   rates state and federal legislators and issues “scorecards” based upon the legislator’s voting history.

   Id.^6\. McGowan remains in possession of Plaintiffs’ laptop, which contains information related

   to Plaintiffs’ ratings system.    Id. ^ 62.   Plaintiffs allege, upon information and belief, that

   McGowan kept the laptop in order to access information related to the ratings system. Id. ^ 63.

           McGowan, McGrath, Axler, Reese, and Finnegan all note that they are Plaintiffs’ former

   employees and advertise as such on ILA’s website.          Id. ^ 64.   According to ILA’s website,

   McGowan is ILA’s Chief Executive Officer (“CEO”) and it notes that he “held the top finance

   position at American Conservative Union where he served for over 6 years.” Id. ^ 65. According

   to ILA’s website, McGrath serves as ILA’s President and his biography similarly notes his

   experience “leading the creation of the nation’s first and only legislative scorecard program.” Id.

  ^ 66. Axler serves as ILA’s Director of Policy Analysis where he “plays a critical role in managing



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   the review of policy and legislative procedure across the scorecard creation process.” Id. H 67.

   Reese serves as ILA’s Director of Legislative Research and “directs the research processes for

   ILA’s congressional and state scorecards.” Id. 168. Finnegan “directs the ILA’s data and analytics

   operations.” Id. ^ 69.

          Plaintiffs allege, upon information and belief, that McGowan, McGrath, Axler, Reese, and

   Finnegan have utilized Plaintiffs’ confidential information to establish ILA’s lawmaker scorecard

  - the Limited Government Index. Id. ^ 70. According to ILA’s website, ILA “enlisted the original

   architects of the nation’s first and only 50-state comprehensive scorecard produced at the

   American Conservative Union” and those “individuals are utilizing a decade of experience they


   each gained while building the ACU system to develop the new ultimate scorecard.” Id. Plaintiffs

   allege that a review of ILA’s website and publications “reveals that Plaintiffs’ confidential.

   proprietary and trade secret information has been utilized without Plaintiffs’ authorization.   Id.


  171.

          On February 1, 2024, ILA published the “Soros Files” on its website. Id. 172. They were

   authored by Reese, and Plaintiffs allege that they “include false and defamatory statements

   regarding Plaintiffs.” Id. ^ 73; Dkt. 15-9. The Soros Files encompassed 33 articles and included

   the following statements:

              ●   “It appears Zuckerberg coordinated with CPAC to help advance racial justice
                  through arguably the most powerful tool in the nation for lobbying Republicans.”

              ●   “It is therefore not surprising why Soros, Zuckerberg and Arnold have so heavily
                  invested in CPAC to control its scorecard.”

              ●   “John Arnold is one of those billionaires that has made significant investments into
                  CPAC.”


              ●   “CPAC works to bring [John] Arnold’s New York City’s Cashless Bail Policy to
                  Other States.”




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               ●   “It appears that CPAC has become an important partner to [John] Arnold in
                   advancing the bail elimination policies despite the crime they have been
                   documented to cause. For example, CPAC has lobbied the Ohio legislature on
                   enacting a ‘bail reform’ policy just like the one enacted in New York.”

               ●   “Meet CPAC Billionaire Funder George Soros.

               ●   “... CPAC has at least two-Soros funded prosecutors on its staff.

   Dkt. 15H74; Dkt. 15-9.

           Prior to ILA and Reese publishing the Soros Files, Plaintiffs had entered into an agreement

   with a substantial donor to be a key sponsor for various events during CPAC 2024. Dkt. 15         75.

   Following publication of the Soros Files, the donor withdrew its sponsorship citing the Soros Files

   as the precipitating cause. Id.

          ILA also adopted a logo displaying a star, which Plaintiffs allege is substantially similar to

   CPAC’s mark and scorecard presentation. Id. ^ 77. The ILA star logo is below:




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   Id. ^ 78. Plaintiffs allege that the star logo, colors, and graphics have created confusion amongst

   legislators, who incorrectly believe that they are being recognized by CPAC and that Plaintiffs and

   ILA are related entities. Id. ^ 79.

          Plaintiffs cite two examples that they assert establish that the logo has caused confusion.

   Id. H 80. In the first instance, Greg Vital of the Tennessee General Assembly tweeted that he was

   ‘'honored to be recognized by CPAC Institute for Legislative Analysis” when he was referring to

   ILA. Dkt. 15-10. In the second instance, Missouri State Representative Doug Richey tweeted that

   he received “the ‘Champion of Limited Government’ recognition, from the ILA (they provide a

   deeper analysis related to the work of CPAC).” Id.

                                         B.   Procedural Background

          On March 28,2024, Plaintiffs filed their Complaint. Dkt. 1. The Defendants filed a Motion

   to Dismiss on April 22, 2024. Dkt. II. In response. Plaintiffs filed an Amended Complaint. Dkt.

   \5.^ Accordingly, the Court denied the Motion to Dismiss as Moot. Dkt. 15.




            Plaintiffs’ Amended Complaint includes twenty-four counts, including: (i) an alleged
  violation of the Computer Fraud and Abuse Act, 18 U.S.C. § 1030, against the Individual
  Defendants; (ii) alleged violations of the Virginia Computer Crimes Act, Va. Code Ann. § 18.2-
   152.1, against the Individual Defendants and in particular McGowan; (iii) an alleged violation of
  the Defend Trade Secrets Act, 18 U.S.C. § 1836, against all Defendants; (iv) an alleged violation
  of the Virginia Uniform Trade Secrets Act, Va. Code § 59.1-336, against the Individual
  Defendants; (v) breach of fiduciary duty against the Individual Defendants; (vi) common law
  conversion against all Defendants and an additional count against McGowan; (vii) breach of
  contract against the Individual Defendants and an additional count against Reese; (viii) defamation
  per se against ILA and Reese; (ix) several civil conspiracy counts against various groups of
  Defendants; (x) trademark infringement, 15 U.S.C. § 1114, against ILA; (xi) false designation of
  origin, 15 U.S.C. § 1125, against ILA; (xii) five unjust enrichment counts against various
  Defendants; (xiii) two counts of tortious interference with economic relations against all
  Defendants; and (xiv) unfair competition against all Defendants.
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           On May 21, 2024, Defendants filed the currently pending Joint Motion to Dismiss. Dkt.

   19. On June 4, 2024, Plaintiffs filed their Opposition. Dkt. 24. On June 10, 2024, Defendants

   filed their Reply in Support. Dkt. 25.

                                         II.   STANDARD OF REVIEW


          To survive a motion to dismiss brought under Federal Rule of Civil Procedure 12(b)(6), a

   complaint must set forth ”a claim to relief that is plausible on its face.” BellAtl. Corp. v. Twombly,

   550 U.S. 544, 570 (2007). A claim is facially plausible “when the plaintiff pleaded factual content

   that allows the court to draw the reasonable inference that the defendant is liable for the misconduct


   alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Twombly, 550 U.S. at 556). When

   reviewing a motion brought under Rule 12(b)(6), a court “must accept as true all of the factual

   allegations contained in the complaint,” drawing “all reasonable inferences” in the plaintiffs

   favor. E.I. du Pont de Nemours & Co. v. Kolon Indus., Inc., 637 F.3d 435, 440 (4th Cir. 2011)


   (citations omitted). “[T]he court ‘need not accept the [plaintiffs] legal conclusions drawn from

   the facts,’ nor need it ‘accept as true unwarranted inferences, unreasonable conclusions, or

                    Wahi V. Charleston Area Med. Ctr., Inc., 562 F.3d 599, 616 n.26 (4th Cir. 2009)
                5

   arguments.

   (quoting Kloth v. Microsoft Corp., AAA F.3d 312, 319 (4th Cir. 2006)). Additionally, “[tjhreadbare

   recitals of the elements of a cause of action, supported by mere conclusory statements, do not

   suffice.” Iqbal, 556 U.S. at 678. Generally, courts may not look beyond the four corners of the

  complaint in evaluating a Rule 12(b)(6) motion.         See Goldfarb v. Mayor & City Council of

  Baltimore, 791 F.3d 500, 508 (4th Cir. 2015).




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                                          III. ANALYSIS


        Defendants seek to dismiss the entire Amended Complaint. Dkt. 20. Plaintiffs oppose.

 Dkt. 24. Given the breadth of the Amended Complaint, the Court will separately analyze the

 Motion with respect to each asserted legal theory.

                         A.     Computer Fraud and Abuse Act (“CFAA”)

        Although it is unclear from the Amended Complaint, briefing on the Motion makes clear

 that Plaintiffs’ Computer Fraud and Abuse Act claim is premised on 18 U.S.C. § 1030(a)(2)(C).

 Dkt. 20 at 4. To state a civil claim under this provision, a plaintiff must allege that a defendant:

 (i) intentionally accessed a computer; (ii) without authorization or through exceeded authorized

 access; (iii) obtaining information from a protected computer; and (iv) resulting in a loss or

 damages during any one-year period of at least $5,000. Good 'Nuff Garage, LLC v. McCulley,

 2022 WL 4485810, at *11 (E.D. Va. Sept. 26, 2022) (citing cases). In this context, “intentionally'

 means “knowingly performed an act, deliberately and willfully on purpose.          United States v.


 Spirito, 36 F.4th 191, 210 (4th Cir. 2022).     The Fourth Circuit has “literally and narrowly

 construed “access[ing] a computer without authorization or exceed[ing] authorized access” to refer

 to “situations where an individual accesses a computer or information without permission.” WEC

 Carolina Energy Solutions LLC v. Miller, 687 F.3d 199, 203 (4th Cir. 2012). Thus, the Fourth

 Circuit followed the Ninth Circuit’s holding 'mLVRC Holdings LLC v. Brekka, 581 F.3d 1127 (9th

 Cir. 2009), where the Ninth Circuit found that employees had not violated this statute where “they

 retrieved confidential information via their company user accounts and transferred it to ... a

 competitor and former employee.” WEC, 687 F.3d at 203.

        In applying this analytical framework to the claim presented here, the Court views it as

 necessary to separate the claim against McGowan as opposed to McGrath, Axler, Reese, and



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 Finnegan. This is for the simple reason that Plaintiffs allege that McGowan still has access to

 Plaintiffs’ laptop. Dkt. 15 f 62. With respect to McGrath, Axler, Reese, and Finnegan, Plaintiffs

 cannot premise any CFAA claim on access that they had while they were employed by Plaintiffs.

 See WEC, 687 F.3d at 203. Thus, Plaintiffs must premise any CFAA claim on post-employment

 access.    But at best, Plaintiffs can only speculate as to any post-employment access and that

 McGrath, Axler, Reese, and Finnegan had such access via McGowan’s retention of his work

 computer. Dkt. 15 H 92. Plaintiffs’ claims against McGrath, Axler, Reese, and Finnegan involve

 an impermissible linking of speculative suggestions that: (i) McGowan provided them with access

 to the retained laptop; (ii) each of them actually accessed the laptop; and (iii) each of their supposed

 accessing of the laptop caused damages. Plaintiffs cannot support any link in this paper chain.

 Other courts have similarly dismissed CFAA claims where a plaintiff has failed to adequately

 allege access.      See, e.g., Pak v. Redo, 2016 WL 4492812, at *5 (E.D. Texas July 21, 2016)

 (recommending dismissal of CFAA claim where plaintiff speculated access). Moreover, this

 Court’s analysis is consistent with its obligation under Twombly and Iqbal. See Lemon v. Myers

 Bigel, PA, 985 F.3d 392 (4th Cir. 2021) (“Speculation, of course, falls short of what Twombly and

 Iqbal require.”).

           The allegations against McGowan stand on perhaps slightly stronger footing, as Plaintiffs

 at least have alleged facts establishing that McGowan had a device - post-employment - to access.

 But Plaintiffs must rely on pure speculation to establish that McGowan did access the device post¬

 employment. Dkt. 15 ^92 (alleging access “upon information and belief’). Plaintiffs do not allege

 that their systems reflect that McGowan actually accessed any device post-employment. Nor can

 Plaintiffs establish that the nature of the information that McGowan allegedly accessed reveals


 that he must have accessed such information post-employment, because McGowan is alleged to



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 have had authorized access to information related to the alleged proprietary information prior to


 his resignation. Thus, here too, Plaintiffs’ allegations require too great of an intuitive leap. See,

 e.g., Carter v. Va. Dep't of Game & Inland Fisheries, 2018 WL 3614975, at *9 (E.D. Va. July 27,

 2018) (holding that allegations based on information and belief ‘Veer away from supporting

 plausible inferences, and turn instead toward unsupportable conclusory talismanic statements”).

 Plaintiffs’ CFAA claim against McGowan relies on the unsupported supposition that McGowan

 accessed the retained laptop after his employment ended and that it was that access, rather than

 any prior access during McGowan’s employment, which resulted in damages to Plaintiffs. As

 district courts in this Circuit have recognized, \iOsi-Twombly and Iqbal, a complaint “is not a leap

 of faith,” Turner v. Va. Dep't of Med. Assist. Servs., 230 F. Supp. 3d 498, 510 (W.D. Va. 2017)

 and this Court “is not permitted to step in and make the necessary leaps to make certain that a

 plaintiff has properly pled his cause of action,” Parks v. Lowe, 2010 WL 545679, at *7 (W.D. Va.

 Feb. 12,2010).

        In sum, Plaintiffs have failed to plead a CFAA claim against any of the Individual

 Defendants.    Plaintiffs’ claim fails on two levels: (i) they have not plausibly alleged post¬

 employment access to any protected device; and (ii) they have not plausibly alleged damages

 flowing from any supposed post-employment access rather than access during employment.

 Accordingly, Count I will be dismissed.

                          B.     Virgina Computer Crimes Act (“VCCA”)

        Much like a CFAA claim, to state a claim under the VCCA, a plaintiff must allege that a

 defendant: (i) used a computer or computer network; (ii) without authority; and (iii) either obtains

 property or services by false pretenses, embezzles, or commits larceny, or converts the property of

 another. Space Sys./Loral, LLC v. Orbital ATK, Inc., 306 F. Supp. 3d 845, 855 (E.D. Va. 2018).



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 Plaintiffs have asserted two claims under the VCCA: first, against all of the Individual Defendants


 based on their alleged post-employment access of the retained laptop; and second, against

 McGowan based on his use of his computer to manually override internal controls to add unearned

 paid time off for himself, McGrath, and Finnegan. The Count II VCCA claim fails for the same

 reasons that the Count I CFAA fails: Plaintiffs cannot establish post-employment access by the


 Individual Defendants of any computer or any damages flowing from that alleged access.

        The Count III VCAA claim focuses on more detailed factual allegations as to McGowan.


 Namely, that McGowan, who had been entirely relieved of any responsibilities related to Human

 Resources, nonetheless accessed the computer system, overrode internal controls, and distributed

 $14,000 worth of unearned paid time off to himself, McGrath, and Finnegan. Dkt. 115           34, 36.

 Under the VCCA, a person acts “without authority” when “he knows or reasonably should know

 that he has no right, agreement, or permission or acts in a manner knowingly exceeding such right,

 agreement, or permission.    Va. Code Ann. § 18.2-152.2. As district judges in this District have

 recognized, a “plaintiff can state a claim under the VCAA . . . even when the defendant was

 authorized to access a computer network.      GMS Indus. Supply Inc. v. G & S Supple Inc., LLC,

 441 F. Supp. 3d 221,236 (E.D. Va. 2020). Here, Plaintiffs have sufficiently alleged that McGowan

 acted “without authority” - which applies a different standard than the CFAA - when he allotted

 himself and others unaccrued paid time off. See Carfax, Inc. v. Accu-Trade, LLC, 2022 WL

 657976, at * 15 (E.D. Va. Mar. 4, 2022). Thus, at least for the purposes of this Motion, Plaintiffs

 have stated a claim under the VCCA as to McGowan.


        In sum. Plaintiffs have failed to state a claim against the Individual Defendants under the

 VCCA premised on any post-employment access to any computer system. Plaintiffs' allegations

 in this regard are entirely speculative and Count II will be dismissed. On the other hand. Plaintiffs



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 have alleged that McGowan was without authority to use the computer system to allot himself and

 others unearned time off. Accordingly, the Motion will be denied with respect to Count 111.

                          C.     The Defend Trade Secrets Act (the “DTSA”)

           The parties agree that to state a claim under the DTSA, a plaintiff must show that: (i) it

 owns a trade secret; (ii) the trade secret was misappropriated; and (iii) the trade secret implicates

 interstate or foreign commerce. Bomtmose Biochem, LLC v. Yi-Heng Percival Zhang et al., 2018

 WL 10069553, *6 (W.D. Va. May 21, 2018); Power Home Solar, LLC v. Sigora Solar, LLC, 2021

 WL 3856459, at *9 (W.D. Va. Aug. 30, 2021). Here, Defendants challenge the first and third

 elements of the DTSA claim.^

           Defendants first challenge whether Plaintiffs have adequately pled the existence of a trade

 secret.    A “trade secref’ is “all forms and types of financial, business, scientific, technical,

 economic, or engineering information” that “the owner thereof has taken reasonable measures to

 keep such information secret” and which “derives independent economic value, actual or potential.

 from not being generally known.” 18 U.S.C. § 1839(3). Although Plaintiffs may be able to allege

 facts sufficient to establish that their legislator rankings methodology constitutes a trade secret, the

 Court agrees with Defendants that Plaintiffs have not yet done so. Plaintiffs describe their alleged

 trade secrets as “their methods, methodologies, and algorithms” regarding their lawmaker

 rankings. Dkt. 15       115-16. But these rankings are based on the lawmakers’ publicly available

 voting records. Id. ^21 (alleging that Plaintiffs “issue[] ratings of state and federal lawmakers

 across various policy areas based upon their voting records”). If the voting records are publicly



         ^ With respect to the second element, a claim for misappropriati on lies “simply by
 demonstrating that the defendant acquired [the] trade secret by improper means, even if the
 plaintiff cannot show use of that trade secret.” Sys. 4, Inc. v. Landis & Gyr, Inc., 8 F. App’x 196,
 200 (4th Cir. 2001).


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 available and the rankings are publicly available, it is unclear to the Court how the ranking

 methodology is protected as a trade secret. The allegations at issue here regarding '‘methods,

 methodologies, and algorithms” mirror similar allegations that district judges in this Circuit and

 others have found insufficient to allege a trade secret.^ Moreover, that Plaintiffs’ compilation of

 the information relied upon to produce the rankings “was an arduous task is not alone sufficient to

 confer protection under the DTSA.” 24 Seven, LLC v. Martinez, 2Q2\ WL 276654, at *8 (S.D.N.Y.

 Jan. 26, 2021); Accenture LLP v. Trautman, 2021 WL 6619331, at *9 (S.D.N.Y. June 8, 2021)

 (finding that a plaintiffs development of techniques insufficient because it does not distinguish

 such information from “mere knowledge of the intricacies of a business”).^

        Further, Plaintiffs’ allegations regarding the second element of defining a trade secret -

 that the alleged trade secret derives “independent economic value” from not being known - are

 entirely conclusory. Dkt. 15      121, 131, 135 (mirroring statutory language that “trade secret

 information derives independent economic value from not being generally known”).            As the

 Supreme Court has instructed, such “[tjhreadbare recitals of the elements of a cause of action.




        ^ See Power Home Solar, 2021 WL 3856459, at *9-10 (finding allegations regarding
 “proprietary practices, methods, techniques, and pricing models” constituted mere labels without
 description or explanation and noting that plaintiff failed to allege “why the underlying customer
 information is not otherwise readily ascertainable by their competitors in the relevant market’*);
 JTH Tax LLC v. Cortorreal, 2024 WL 897605, at *6 (E.D. Va. Mar. 1, 2024) (dismissing DTSA
 claim where plaintiff alleged “client lists and files, methods of operations, private customer
 information, and marketing strategies” as the alleged trade secrets); Lithero, LLC v. AstraZeneca
 Pharm. LP, 2020 WL 4699041, at *2 (D. Del. Aug. 13, 2020) (dismissing DTSA claim where the
 complaint “points to large, general areas of infonnation” without identifying “what about [the]
 process is a trade secret”).

          The vague allegations regarding “methods, methodologies, and algorithms” makes it
 impossible for the Court to determine what information each or any Individual Defendant is
 alleged to have taken. For example, it is inherent in any meaningful ranking of legislators that an
 individual would have to review those legislators’ votes on bills and introduction of legislation;
 but these “methods” of reviewing information would certainly not constitute a trade secret.
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 supported by mere conclusory statements, do not suffice” to state a claim. Iqbal, 556 U.S. at 678;

 Broidy v. Global Risk Advisors, LLC, 2023 WL 6258135, at *11 (S.D.N.Y. Sept. 26, 2023)

 (dismissing claim where “Plaintiffs allege in a conclusory, boilerplate manner that their trade

 secrets derive independent value from not being generally known or available” which “improperly

 recites the exact language” of the statute) (omitting internal quotation marks). Indeed, there are

 allegations in the Amended Complaint that would suggest that, to the extent the rankings

 methodology has value, it is not from its secrecy but from being “the nation’s first and leading 50-

 state comprehensive scorecard.” Dkt. 15 ^ 30. Accordingly, the Court finds that, as the Amended

 Complaint currently stands, it has not alleged the existence of a trade secret.

        Plaintiffs have also failed to allege facts demonstrating that their alleged trade secret

 implicates interstate or foreign commerce. In their Opposition, Plaintiffs argue that their alleged

 trade secret scorecard necessarily implicates interstate commerce because they rank state and

 federal lawmakers and legislation. Dkt. 24 at 9. But the fact that the lawmakers that Plaintiffs

 rank cross state bounds does not mean that the commercial aspect crosses state bounds.         Based

 upon Plaintiffs’ other allegations regarding the donations, it is apparent that Plaintiffs could add

 allegations to the Amended Complaint that would establish an interstate nexus. At this point,

 however. Plaintiffs have failed to do so and, so, Plaintiffs have also failed to state a claim on this

 basis. Accordingly, Plaintiffs’ DTSA claim will be dismissed.

                  D.      The Virginia Uniform Trade Secrets Act (the “VUTSA”)

        As the parties recognize and this Court has previously held, the “applicable standards under

 the DTSA and ... the VUTSA are nearly identical.” Apex Advanced Tech. LLC v. RMSIPrivate

 Ltd., 2022 WL 4826335, at *5 (E.D. Va. Sept. 30, 2022). Plaintiffs’ VUTSA claims fail because

 Plaintiffs have failed to adequately plead facts establishing that their rankings methodology



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 constitutes a trade secret. Virginia law, as with the DTSA, requires that a trade secret “[djerives

 independent economic value . . . from not being generally known and not being readily

 ascertainable by proper means.        Va. Code Ann. § 59.1-336. Thus, Plaintiffs’ failure to assert

 facts, which plausibly allege that their system “derives independent economic value” and is not

 “readily ascertainable” via publicly available information, means Plaintiffs have also failed to

 allege a VUTSA claim and it will be dismissed.

                                  E.        Breach of Fiduciary Duty

        In Count VI, Plaintiffs allege that the Individual Defendants breached their fiduciary duty

 to Plaintiffs by: (i) upon information and belief, incorporating Defendant ILA while still employed

 by Plaintiffs; and (ii) by intentionally taking and misusing Plaintiffs’ confidential information.

 Dkt. 15 ^ 146. To state a claim for breach of fiduciary duty under Virginia law, a plaintiff must

 allege: (i) a fiduciary duty; (ii) a breach; and (iii) damages resulting from the breach. NorthStar

 Aviation LLC v. Alberto, 332 F. Supp. 3d 1007, 1016 (E.D. Va. 2018). The Court will address

 each alleged breach.

        The Supreme Court of Virginia and district judges in this District have recognized that “an

 employee has the right to make arrangements during his employment to compete with his employer

 after resigning his post.   Williams v. Dominion Tech. P'ners, LLC, 265 Va. 280, 289 (2003);

 Contract Assocs., Inc. v. Alalay, 2015 WL 1649051, at *4 (E.D. Va. Apr. 10, 2015) (granting

 summary judgment in favor of employee where employee made “arrangements in contemplation

 of future competition”). Here, Plaintiffs merely allege that Defendant ILA, upon information and

 belief, was incorporated in the days before the Individual Defendants left their employment.

 Plaintiffs do not allege that Defendant ILA was already competing immediately upon

 incorporation.   Accordingly, the allegations in the Amended Complaint do not go beyond the



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 “arrangements” that the Supreme Court of Virginia has held do not support a breach of fiduciary

 duty claim.

         With respect to the second alleged breach, Plaintiffs and Defendants first dispute whether

 the claim can properly be brought as a breach of fiduciary duty at all, or whether it is simply part

 of the breach of contract claim. The Court has little difficulty agreeing with Plaintiffs that the duty


 not to disclose trade secret information can form the basis for both a breach of a general fiduciary


 duty and a breach of the more specific contract regarding when and how to deal with such

 information. See Combined Ins. Co. ofAm. v. Wiest, 578 F. Supp. 2d 822, 833 (W.D. Va. 2008)

 (“Stated succinctly, inasmuch as it is clear that Virginia law recognizes the tort of breach of

 fiduciary duties in the employment context, and inasmuch as it is clear that almost all employment

 relationships are founded on contract, it is abundantly clear that the Supreme Court of Virginia did

 not intend to render the two causes of action mutually exclusive.”). This finding, however, does

 not resolve the matter. Plaintiffs’ breach of fiduciary claim with respect to their alleged sharing

 of confidential information suffers a more fundamental flaw: Plaintiffs have failed to plausibly


 allege a breach. Although Plaintiffs make conclusory allegations that the Individual Defendants

 have taken Plaintiffs’ confidential information. Plaintiffs have failed to plausibly allege: (i) that

 Defendant ILA’s scorecard is the same as Plaintiffs’          scorecard;^ (ii) to what confidential




          ^ In Count IX, which alleges a breach of contract and which allegations are not incorporated
 into this breach of fiduciary duty count, Plaintiffs allege in vague and conclusory fashion that the
 scorecards are “unequivocally the same.” Dkt. 15 H 163. But the Court is unable to test this
 allegation, because Plaintiffs never allege on what basis their scorecard system ranks legislators.
 See Iqbal, 556 U.S. at 678 (a court need not rely on mere conclusory allegations). Moreover,
 although the Court does not rest on this, the Court reviewed Plaintiffs’ public facing website which
 asserts that the ratings are “the original Conservative Ratings” which would on its face appear to
 be different from ILA’s “Limited Government Index.” Compare CPAC Foundation, Ratings
 available at https://www.cpac.org/foundation/ratings (last visited February 5, 2025) with Dkt. 15
 H70.
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 information each Individual Defendant had access; or (iii) how such information was used to

 benefit ILA and to Plaintiffs’ detriment. As noted supra, the Amended Complaint does not allege


 what information was obtained or taken, by which Defendant, or even what that information

 included. Indeed, a review of the Amended Complaint suggests that certain Individual Defendants

 did not even have access to information that could be considered confidential.^    Accordingly, the

 Court will grant the motion to dismiss the breach of fiduciary duty claim.

                                     F.      Conversion Claims


        In Counts VII and VIII, Plaintiffs assert two common law conversion claims: first against

 all of the Defendants, and, second, against McGowan alone. As this Court has previously noted.

 conversion is “any distinct act of dominion wrongfully exerted over the property of another, and

 in the denial of his rights, or inconsistent therewith.” Vivos Acquisitions, LLC v. Health Care Res.

 Network, LLC, 2022 WL 995389, at *6 (E.D. Va. Mar. 31,2022).

        The conversion claim in Count VII is premised on the Defendants’ alleged use of Plaintiffs’

 “confidential, proprietary and trade secret information” as well as “other non-public information.

 Dkt. 15 1149. Defendants first argue that this claim is preempted by the VUTSA. The preemption

 provision of the VUTSA “displaces conflicting tort, restitutionary, and other law of this

 Commonwealth providing civil remedies for misappropriation of a trade secret.” Va. Code Ann.




         ^ McGowan and McGrath appear to have had some role in the creation of the scorecard
 systems and, if such information constitutes a trade secret, appear to have had access.
 Conceivably, the allegations with respect to Finnegan could also be read to suggest that he had
 access to the relevant “methods, methodologies, and algorithms.” Dkt. 15 ^ 55 (alleging that
 Finnegan “was responsible for the statistics, data manipulation, and analytics”). But the
 allegations with respect to the other two Individual Defendants do not reveal that they would even
 have had access to information that would constitute a trade secret. See Dkt. 15 ^1 25 (alleging
 Axler was responsible “for researching and summarizing state and federal legislation, including
 how legislators voted on various bills”); id. ^ 51 (alleging Reese was “responsible for researching
 legislation and legislator voting records” which were later used as part of Plaintiffs’ system).
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 § 59.1-341. “In considering whether [claims] are preempted by the VUTSA, [courts have noted]

 that preemption only occurs where the common-law claims ‘are premised entirely on a claim for

 the misappropriation of a trade secret.         Rogers Elec. ofVa, Ltd. v. Sims, 93 Va. Cir. 484 (2015).
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 Judges in this District have “hesitate[d] to assign the label of‘VUTSA trade secret* to proprietary

 information at the pleading stage for fear of depriving parties the opportunity to conduct fact-

 finding on the issue.   Anderson v. Fluor Intercontinental, Inc., 2021 WL 837335, at *17 (E.D.

 Va. Jan. 4, 2021). Moreover, judges in this District have held that, “unless it can be clearly

 discerned that the information in question constitutes a trade secret, the Court cannot dismiss

 alternative theories of relief as preempted by the VUTSA.” Stone Castle Fin., Inc. v. Friedman,

 Billings, Ramsey & Co., Inc., 191 F. Supp. 2d 652, 659 (E.D. Va. 2002). Having succeeded in

 arguing that Plaintiffs have not plausibly alleged a trade secret, Defendants cannot now turn around

 and argue that the conversion claim is preempted by the VUTSA. Thus, at this stage, the Court

 finds that preemption is not a basis for dismissal of Count VII.

        Next, Defendants argue that the conversion claim fails because conversion applies only to

 tangible property, with a limited exception where intangible property rights are merged with a

 document.   Dkt. 20atl3. Defendants are correct.           As the Supreme Court of Virginia has noted:


  To establish a conversion of intangibles, however, the plaintiff must have both a property interest

 in and ‘be entitled to immediate possession’ of the documented intangible property. For this

 reason, this Court has refused to recognize a conversion claim ‘for interference with undocumented

 intangible property rights.” Mackey v. McDannald, 298 Va. 645, 659 (2020) (such documented

 intangible property rights include a valid stock certificate, promissory note, or bond). Plaintiffs

 do not address Mackey and their citation to district court cases that reach a contrary conclusion are

 unpersuasive in the face of a clear decision from the Supreme Court of Virginia.              Thus, the


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 conversion claim premised on Plaintiffs’ alleged trade secret and other non-public information

 fails because it is premised on intangible property.

        Finally, even if Mackey did not apply, Plaintiffs’ conversion claim would still fail under

 the IqballTwombly standard because it is unclear what has been converted. The Court has already

 noted supra the deficiencies with respect to the descriptions of Plaintiffs’ alleged trade secrets and,

 to the extent Plaintiffs rely on their allegation of other '‘non-public information, this allegation is

 similarly vague, conclusory, unhelpful.     For all these reasons, Plaintiffs have failed to state a

 conversion claim with respect to Count VII.

        The Court next turns to the conversion claim in Count VIII.        Here, the claim is premised

 on McGowan’s retention of Plaintiffs’ laptop. The Court agrees that “the duty not to convert the

 property of another for one’s own purposes exists in the absence of any contract, and thus provides

 the basis for an independent tort from the contract claims.          Wiesl, 578 F. Supp. 2d at 833

 (intemation quotations and citations omitted). Thus, the existence of a contract does not bar

 Plaintiffs’ conversion claim. Defendants argue that Plaintiffs’ claim falters because Plaintiffs have

 not alleged that Plaintiffs requested the return of the laptop and the absence of such an allegation

 is fatal to the claim. The Court agrees. Although the Court could find no Virginia case directly

 on point, a defendant who is originally authorized to possess certain property cannot be said to

  ‘wrongfully exert” dominion over that property until the owner has demanded the return of the

 property and been refused. Any other result would have individuals suing for conversion before

 taking the simple step of requesting the return of their property, and this is not something that the

 law (or the courts of the Commonwealth of Virginia) would want to encourage. Moreover, absent

 a demand for the return of the laptop, McGowan’s only knowledge that the property was required

 to be returned arises from his Agreement and thus the conversion claim would not be independent



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 from the breach of contract claim. Thus, this Court finds that, where McGowan obtained the laptop

 lawfully, the omission of any allegation that Plaintiffs demanded the return of the laptop means

 that Plaintiffs have not plausibly alleged that McGowan wrongfully exercised ownership over the

 laptop. Moreover, this is a long-recognized principle that courts have applied in the context of

 conversion.   See, e.g., Logan Cnty. Nat’l Bank v. Townsend, 139 U.S. 67, 78 (1891) (“Until

 demand, the plaintiff had not manifested his will to have them restored to him. The conversion

 occurred when the defendant repudiated all obligation to perform the contract, or denied that any

 such contract was ever made, and yet held on to the bonds as its property.”); T&S Brass & Bronze

 Works, Inc. v. Pic-Air, Inc., 790 F.2d 1098, 1106 (4th Cir. 1986) (“The refusal to return a chattel

 upon the demand of the rightful owner is conversion.”); Schwartz v. Capital Liquidators, Inc., 984

 F.2d 53, 53 (2d Cir. 1993) (“When the original possession is lawful, ‘conversion does not occur

 until the defendant refuses to return property after demand or until he sooner disposes of the

 property.’”) (citation omitted); In re Parker, 653 B.R. 765, 776 (E.D. Va. 2023) (“It is well settled

 that ‘where [a] defendant’s original possession is not wrongful, conversion is complete when the

 rightful owner demands the return of the property and is refused.’”). Accordingly, Plaintiffs have

 also failed to state a claim for conversion in Count VIII.


                                     G.      Breach of Contract


        Plaintiffs also assert two breach of contract claims: (i) against the Individual Defendants

 for the alleged use of Plaintiffs’ trade secret information (Count IX); and (ii) against Reese for

 breach of a non-disparagement clause (Count X). To state a breach of contract under Virginia law.

 a plaintiff must show: (i) a legally enforceable obligation of a defendant to a plaintiff; (ii) the

 defendant’s violation of that obligation; and (iii) injury or damage to the plaintiff caused by the

 breach. Filakv. George, 267 Va. 612, 614 (2004).



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        With respect to the Individual Defendants, Plaintiffs assert that they breached the

 Agreements in two ways: (i) by utilizing Plaintiffs’ alleged confidential, trade secret information

 to develop a competing ranking system; and (ii) upon information and belief, by disclosing the

 information to other employees of ILA. Dkt. 15         163-64. Plaintiffs’ first alleged breach fails

 for many of the reasons that this Court has already discussed. Plaintiffs have failed to allege

 sufficient facts to demonstrate that the rankings systems are similar, what information specifically

 was alleged to have been used, whether each Individual Defendant actually had access to material

 that would be considered protected and is not otherwise publicly available.       Plaintiffs’ second

 alleged breach with respect to the Individual Defendants also fails for the additional reason that

 the Amended Complaint’s allegation that information has been shared with other employees is

 entirely speculative and has no facts to support it. Importantly, Plaintiffs have not even alleged

 that there are other employees of ILA.      Accordingly, Plaintiffs have failed to state a breach of

 contract claim against the Individual Defendants in Count IX.

        With respect to Count X, Defendants argue that the non-disparagement clause is barred by

 the National Labor Relations Act, 29 U.S.C. § 157 (the “NLRA”). Both parties primarily cite to

 Quicken Loans, Inc. v. NLRB, 830 F.3d 542 (D.C. Cir. 2016), for instruction on how the NLRA,

 and in particular Section 7 of the NLRA, operate in this context. As the D.C. Circuit recognized,

 “Section 7 of the NLRA guarantees employees the right to self-organization” which “necessarily

 encompass employees’ rights to communicate with one another and with third parties about



        10
            The Court recognizes that there are circumstances where pleading information upon
 information and belief is appropriate. But here Plaintiffs’ allegations appear to be pure speculation
 and lack any supporting facts to lend them weight. As the Fourth Circuit has instructed: “Although
 a plaintiff may initially plead parts of his case ‘upon information and belief,’ his allegations may
 not be wholly conclusory.” Kashdan v. George Mason Vniv., 70 F.4th 694, 701 (4th Cir. 2023).
 Thus, where allegations “are far too speculative” and are “devoid of facts supporting the
 allegations that were pleaded upon information belief’ dismissal is appropriate. Id. at 702.
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 collective action and organizing a union.      830 F.3d at 544 (emphasis added). Thus, Section 7

 protects employees’ rights to discuss organization and to criticize and complain about their

 employer. Id. The primary difficulty that the Court has with Defendants’ Section 7 argument is

 that Reese is not an employee - she is a former employee. See 29 U.S.C. § 152(3) (definition of

 “employee” limited to those who are current employees and those “whose work has ceased as a

 consequence of. . . any current labor dispute or because of any unfair labor practice”). Moreover,

 Reese is not accused of any disparagement that relates to collective action or unionizing. Although

 the Court agrees with Defendants that the Court has an obligation to determine whether a contract

 violates federal law before enforcing it, Kaiser Steel Corp. v. Mullins, 455 U.S. 72, 83 (1982), the

 Court does not agree that Defendants have established that there is an NLRA violation here.

 Moreover, Defendants cite no cases where a district court, as a matter of original jurisdiction rather

 than on appeal from a decision of the National Labor Relations Board, has declined to enforce a
                                                                                            11
 non-disparagement clause against a former employee based on Section 7 of the NLRA.

        Nonetheless, the Court will dismiss Count X because Plaintiffs have failed to adequately

 allege a breach of the Agreement. Plaintiffs allege that Reese breached the non-disparagement

 clause of the Agreement by publishing the Soros Files articles and that there are at least “thirty
                                                                                                     12
 (30) disparaging and defamatory incidents, in direct violation of the Agreement.” Dkt. 15^ 172.

 This fails to put Reese on notice for what Plaintiffs view as a breach, because the Amended




         II
              The Court does not intend its decision here to be a final pronouncement on this issue.
 But based upon the arguments and issues presented by the parties at this stage, the Court cannot
 say that the non-disparagement clause violates the NLRA such that it should not be enforced
 against Reese.
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           The Amended Complaint refers to “incidents” rather than “statements.” This phrasing
 leaves the Court perplexed, as the Court is unsure how an “incident” could violate a non
 disparagement clause.
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 Complaint only specifically identifies seven of these alleged thirty “incidents.             Id. ^ 74

 (identifying seven alleged defamatory statements). Further, Plaintiffs do not explain how the

 statements are defamatory. For example, Plaintiffs do not explain how helping to “advance racial

 justice” is disparaging. Id. ^ 74(a). Accordingly, Count X will be dismissed on this basis.

                                         H.    Defamation Per Se


         In Count XI, Plaintiffs allege that Defendants ILA and Reese are jointly and severally liable

 for defamation per se for the alleged defamatory statements in the Soros Files, including that

  Plaintiffs are directly funded by Mark Zuckerberg, George Soros, and John Arnold and otherwise

 accuse Plaintiffs of allowing donations to influence the results of Plaintiffs’ scorecards.” Dkt. 15

 ^ 180.'^ To state a claim for defamation under Virginia law, a plaintiff must plead three elements:

 (i) publication; (ii) of an actionable statement; and (iii) with the requisite intent.    Va. Citizens


 Defense League v. Couric, 910 F.3d 780, 783 (4th Cir. 2018). To be actionable, a statement must

 be both false and defamatory; that is, they must “injure one’s reputation in the common estimation

 of mankind, to throw contumely, shame or disgrace upon him, or which tends to hold him up to

 scorn, ridicule, or contempt.     Id.    Within that category of defamation, the Supreme Court of

 Virginia has recognized that certain words can constitute defamation per se\ (i) those which impute

 to a person some serious crime involving moral turpitude; (ii) those which impute to a person a

 contagious disease; (iii) those which impute to a person unfitness to perform the duties of an office



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            As an initial matter, the Court notes that none of the alleged defamatory statements refer
 to Plaintiffs ACU or ACUF; rather, the statements refer to CPAC. Plaintiffs have defined CPAC
 as a conference that they host. See Dkt. 15 ^ 21 (alleging “Plaintiffs jointly host the Conservative
 Political Action Conference (‘CPAC’)”). Although the Court understands that CPAC may be
 understood to refer to Plaintiffs, there are no allegations to support that inference and Plaintiffs do
 not explain why statements regarding “CPAC” should be understood by the Court and by the
 public to be defamatory as to Plaintiffs. The Court makes no findings with respect to this
 observation now, as it was raised by the Court and not the parties, but in briefs on any future
 dispositive motions the parties should address it.
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 or employment; and (iv) those which prejudice such person in his or her profession or trade.

 Tronfeld v. Nationwnde Mut. Ins. Co., 272 Va. 709, 713 (2006).

        To begin with, Plaintiffs have not articulated how the alleged defamatory statements

 constitute defamation per se. Plaintiffs appear to be proceeding under the fourth category of

 defamation per se, that is, defamation that impacts a profession, trade, or business. But, as the

 Supreme Court of Virginia has noted, “[t]hat a defamatory statement may have had an adverse

 impact upon a plaintiffs work does not make that statement per se defamatory where the

 defamation is not ‘necessarily hurtful’ to the plaintiffs business and does not touch upon the

 plaintiff in his special trade or occupation.” Fleming v. Moore, 221 Va. 884, 890 (1981). Indeed,

 in Fleming, the Supreme Court of Virginia noted with approval decisions from other jurisdictions

 holding that an accusation that a former ambassador was a Communist did not constitute

 defamation per se. Id. at 891 (citing with approval Korry v. Int’l Tel. <& Telegraph Corp., 444 F.

 Supp. 193, 196 (S.D.N.Y. 1978)). Thus, applying Fleming\\.oxQ, the Court finds that most of the

 alleged defamatory statements are not defamatory per se as they merely allege an association

 between Plaintiffs and certain influential persons and causes (namely, Mark Zuckerberg, George

 Soros, and John Arnold). See Dkt. 15      74(a), 74(c), 74(d), 74(e), 74(f), 74(g). Plaintiffs have

 not explained how those alleged statements are “necessarily hurtful” to their business.      Other

 courts, applying similar state laws, have held that similar claims are not defamatory. See Harvey

 V. CNN, Inc., 520 F. Supp. 3d 693, 716 (D. Md. 2021) (dismissing claim where “Harvey does not

 even attempt to articulate why connecting him to the Nunes’ investigation related to Biden would

 expose him to public scorn”) (emphasis in original); Guilford Trans. Indus., Inc. v. Wilner, 760

 A.2d 580, 594 (D.C. Ct. App. 2000) (“[Defamation] necessarily, however, involves the idea of

 disgrace; and while a statement that a person is a Republican may very possibly arouse adverse


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 feelings against him in the mind of many Democrats, and even diminish him in their esteem, it

 cannot be found in itself to be defamatory . . .        The statement that comes the closest to an

 allegation of defamation per se is the allegation that "Soros, Zuckerberg and Arnold have so

 heavily invested in CPAC to control its scorecard.” Dkt. 15 f 74(b). But even there, the statement

 is not that those individuals do control the scorecard, rather the statements ascribe a motive as to

 why those individuals would want to contribute to CPAC.

        In addition to finding that Plaintiffs have not established that the seven identified

 statements constitute defamation per se, the Court also finds that Plaintiffs have failed to plead

 that the statements are defamatory. As courts recognize, Plaintiffs “cannot argue that merely being

 associated with” certain interests is defamatory. See, e.g., Deripaska v. Assoc. Press, 282 F. Supp.

 3d 133, 149 (D.C. 2017) (dismissing defamation claim premised on allegation that plaintiff was

 associated with the interests of the Russian government). Plaintiffs do not allege that association

 with Zuckerberg, Soros, or Arnold “injure[s] one’s reputation in the common estimation of

 mankind.    Va. Citizens, 910 F.3d at 783. Accordingly, at this stage. Plaintiffs have failed to state
                        14
 a claim in Count XI.


                                      I.      Civil Conspiracy

        In Counts XII through XIV, Plaintiffs allege three civil conspiracy claims: (i) against all

 Defendants premised upon the creation of Defendant ILA; (ii) against all Defendants premised on

 the Soros Files; and (iii) against McGowan, McGrath, and Finnegan premised on the unauthorized



        14
           Defendants also argue that the defamation claim fails because Plaintiffs have not alleged
 actual malice. Here, Plaintiffs have alleged that Reese knew the statements in the Soros Files were
 false based on her work with Plaintiffs. Dkt. 15 13, 180-185. This is sufficient to establish
 actual malice. Malone v. WP Co., ITC, 2023 WL 6447311, at *5 (W.D. Va. Sept. 29, 2023) (“At
 the motion to dismiss stage, this means that a plaintiff must plead enough facts to ‘suggest’ that a
 defendant ‘knew [its] statements were false or that they were reckless with respect to their
 veracity.’”)
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 overtime. To state a claim for conspiracy, a plaintiff must show “1) an agreement between two or

 more persons; 2) to participate in an unlawful act, or a lawful act in an unlawful manner; 3) an

 injury caused by an unlawful overt act performed by one of the parties to the agreement; and 4) that

 the overt act was done pursuant to and in furtherance of the common scheme.           Flexible Bens.


 Council V. Feltman, 2008 WL 2465457, at *9 (E.D. Va. June 16, 2008). As Virginia courts have

 recognized, where “there is no actionable claim for the underlying alleged wrong, there can be no

 action for civil conspiracy based on that wrong.      Citizens for Fauquier County v. SPR Corp., 37

 Va. Cir. 44,50 (1995).

        Here, each of Plaintiffs’ conspiracy claims fails on the same two elements. First, Plaintiffs’

 conspiracy claims fail because Plaintiffs have failed to adequately allege the predicate torts on

 which they rest. As this Court has already discussed. Plaintiffs’ claims related to misappropriation

 of trade secrets, defamation, conversion, and violations of the VCCA fail as alleged. Second,

 Plaintiffs have failed to adequately allege conspiratorial agreement. Plaintiffs allege a conspiracy

 in only the most conclusory terms.        See Bay Tobacco, LLC v. Bell Quality Tobacco Prods.,

 LLC, 261 F. Supp. 2d 483, 499-500 (E.D. Va. 2003) (stating to that to survive a motion to dismiss

 on    common      law civil conspiracy,     plaintiff    must    plead agreement in    more     than

 mere conclusory language because “a conspiracy claim asserted in mere conclusory language is

 based on inferences that are not fairly or justly drawn from the facts alleged”); Johnson v.

 Kaugars, 14Va. Cir. 172, 176(Va.Cir. 1988) (“[I]t is not enough merely to state that a conspiracy

 took place.”). Although Plaintiffs suspect a conspiracy, their allegations constitute no more than

 parallel conduct and a bare assertion of a conspiracy; the Fourth Circuit has held that such cursory

 allegations do not suffice. See A Society Without A Name v. Virginia, 655 F.3d 342, 346 (4th Cir.

 2011) (“Without more, parallel conduct does not suggest conspiracy, and a conclusory allegation


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 of agreement at some unidentified point does not supply facts adequate to show illegality.”).

 Accordingly, Plaintiffs have failed to state a claim in Counts XII, XIII, and XIV.

                                    J.      Trademark Infringement

         Plaintiffs next allege that Defendant ILA has infringed on its registered Star Mark. To state

 a claim for trademark infringement, a plaintiff must allege that (1) it possesses the mark; (2) that

 the defendant used the mark, (3) that the defendant’s use of the mark occurred in commerce;

 (4) that the defendant used the mark in connection with the sale, distribution, or advertising of

 goods and services; and, (5) that the defendant used the mark in a manner likely to confuse

 consumers.   See LBLA Beauty, LLC v. 11177753 Canada Corp., 2024 WL 555888 (E.D. Va. Feb.

 12, 2024). Here, the parties’ arguments focus primarily on the second and fifth elements.

         Here, Plaintiffs’ arguments plainly fail. Defendant ILA has not used Plaintiffs’ mark nor
                                                                                                     15
 is Defendant’s mark likely to create market confusion.              The marks look nothing alike.

 Defendant’s mark uses color; Plaintiffs’ mark does not. Defendant’s mark includes a building;

 Plaintiffs’ mark does not. Plaintiffs’ mark includes words; Defendant’s mark does not. The only


 potential similarly is the use of a star - but even then, it is not the same kind of star:

                                                      AMERICAN
                                                      CONSERVATIVE
                                                      UNION




 As courts recognize, where marks are so plainly dissimilar there is no possibility of confusion. See

 Freixenet, S.A. v. Admiral Wine & Liquor Co., 731 F.2d 148, 151 (3d Cir. 1984) (finding no error




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           To the extent Plaintiffs attempt to expand their claim to include “material with similar
 colors and graphics,” that claim is entirely conclusory and vague. Dkt. 24 at 26 n.22.
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 in the district court’s conclusion ”that the labels of the two wine bottles were so dissimilar as to


 rule out any possibility of confusion”); Mintz v. Subaru ofAmerica, Inc., 716 Fed. Appx. 618, 620

 (9th Cir. 2017) (dismissing infringement claims for dissimilar marks “Share the Love” and “A

 World of Love, for You and Those You Love”); Marvel Enters., Inc. v. NCSoft Corp., 2005 WL

 878090, at *4 (C.D. Cal. Mar. 9, 2005) (“That the terms at question here [(the word mark

 STATESMAN and the registered mark CAPTAIN AMERICA)] are entirely dissimilar is self-

 evident.”); Southgate v. Facebook, Inc., 2017 WL 6759867, at *3 (E.D. Va. Nov. 14,2017) (“Most

 importantly, the Complaint fails to allege facts that make plausible that Defendants have used his

 Marks, or if they have, that there is any threat of confusion by the consuming public.”).

         In particular, U.S. District Judge Anthony J. Trenga’s decision in the Southgate case bears

 discussion here. In Southgate, the only potential similarities between the two marks were the use

 of a star (although, like here, not the same kind of star) and the use of some of the same colors.

 2017 WL 6759867, at *3. Judge Trenga found that the use of a star and sharing of a color were

 not sufficient to plausibly claim that the defendant used the plaintiffs mark or that there was a

 likelihood of confusion. Similarly, here, the only possible similarity between the two marks is the

 use of a star, but no one could claim that the two stars look alike where one is an incomplete star

 with no fill in the center while the other is a completed and filled star.

         Plaintiffs argue that there has been actual confusion and point to two tweets by lawmakers.

 Dkt. 15-9. The tweet by Missouri State Representative Doug Richey does not reveal any confusion

 at all. Id. Indeed, Representative Richey posts that he received a recognition “from the ILA” and

 then distinguishes that recognition from the ratings provided by Plaintiffs by stating “they provide

 a deeper analysis” than Plaintiffs.     Id.   This does not reflect any confusion on the part of

 Representative Richey. The second tweet, by Tennessee State Representative Greg Vital does



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 reflect some confusion. Id. But it is not clear that such confusion is related to the mark. Moreover,


 a single example of confusion is de minimis. See George & Co., LLC v. Imagination Entm ’t Ltd.,

 575 F.3d 383,399-400 (4th Cir. 2009) (finding that four instances of consumer confusion over two

 years was “at best de minimis''' and weighed against a likelihood of confusion; affirming grant of

 summary judgment in favor of defendant); Worsham Sprinkler Co. v. Wes Worsham Fire Prot.,

 LLC, 419 F. Supp. 2d 861, 883-84 (E.D. Va. 2006) (a few instances of actual confusion within an

 eight-month period “must be considered de minimis”). Accordingly, Plaintiffs have failed to

 plausibly allege a claim of trademark infringement.

        Moreover, the elements of a false designation of origin and an unfair competition claim are

 essentially the same as the trademark infringement claims. See Nationstar Mortg., LLC v. Ahmad,

 155 F. Supp. 3d 585, 592 (E.D. Va. 2015) (the elements of “unfair competition and false

 designation of origin are essentially the same as the elements for a claim of infringement of a

 registered trademark”). Thus, Plaintiffs did not separately address those claims. Dkt. 24 at 25-26.

 Accordingly, Counts XVI and XXIV fail for the same reason as the trademark infringement claim.

                                     K.      Unjust Enrichment

        Plaintiffs assert five claims of unjust enrichment in the alternative against various

 groupings of the Defendants: (i) Count XVII is against all Defendants based on the use of

 Plaintiffs’ alleged trade secret information; (ii) Count XVIII is against all of the Individual

 Defendants based on the same alleged use of trade secret information;*^ (iii) Count XIX is against

 all of the Individual Defendants based on the alleged disparaging statements made in violation of

 the Agreements; (iv) Count XX is against McGowan based on the failure to return the laptop; and

 (v) Count XXI is against McGowan, McGrath, and Finnegan based on the unearned paid time off.


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             Counts XVII and XVIII essentially appear to be two counts covering the same conduct.
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         The fundamental problem with most, if not all of Plaintiffs’ unjust enrichment theory

 claims, is that Plaintiffs cannot save their breach of contract claims by simply relabeling them as

 unjust enrichment.      Here, even in counts related solely to unjust enrichment. Plaintiffs

 affirmatively plead that their claims are a breach of contract. Dkt. 15 ^ 234 (alleging, in unjust

 enrichment count, that Defendants “breached their respective agreements with Plaintiffs”); id.

 ^243 (alleging, in unjust enrichment count, that, “[a]s a result of Defendants[’] . . . breach of

 contract, [Defendants] have been unjustly enriched”); id. ^ 245 (alleging, in unjust enrichment

 count, that McGowan was “required to return all of Plaintiffs’ property as set forth in his

 Agreement”). ’’ Courts in this District, applying Virginia law, have recognized that a plaintiff may

 plead breach of contract and unjust enrichment claims in the alternative “only in the absence of an

 enforceable contract.    Colonna’s Shipyard, Inc. v. Coastal Cement Corp., 2023 WL 3321734, at

 *3 (E.D. Va. May 9, 2023) (collecting cases). Here, no one has disputed that there are enforceable

 contracts; rather, Defendants only dispute whether the contracts have been breached. It appears to

 the Court that all of the unjust enrichment claims except for Count XXI would be subject to

 dismissal because they are covered by a contract.

        The Supreme Court of Virginia has generally adopted a three-part test to establish an unjust

 enrichment claim: “(1) the plaintiff conferred a benefit on the defendant; (2) the defendant knew

 of the benefit and should reasonably have expected to repay the plaintiff; and (3) the defendant

 accepted or retained the benefit without paying for its value.      James G. Davis Constr. Corp. v.

 FTJ, Inc., 298 Va. 582, 597 (2020). For the reasons stated previously with respect to the claims

 related to the alleged trade secrets and alleged disparagement, Plaintiffs have failed to allege




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           Interesting, the failure to return the laptop is not the basis of any breach of contract claim
 against McGowan.
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 adequate facts demonstrating that Plaintiffs conferred a benefit on Defendants or that Defendants

 accepted or retained such a benefit. Similarly, there is no allegation separate and apart from the

 contract that would establish that Plaintiffs conferred any benefit on McGowan through the laptop.


 Importantly, there are no allegations that Plaintiffs purchased the laptop, the value of the laptop

 (as opposed to the information on the laptop), or when and in what circumstances McGowan was

 given the laptop.

         Count XXI stands in somewhat different circumstances, but only with respect to

 McGowan. In this regard, Plaintiffs have alleged that Plaintiffs conferred a benefit on McGowan

 by means of unearned paid time off, that such time has value, that McGowan knew it was unearned.

 and that McGowan retained the benefit of that unearned paid time off This is sufficient to state a

 claim against McGowan.       There are no allegations with respect to Finnegan’s or McGrath’s

 knowledge regarding this allegedly unearned paid time off. Thus, although Plaintiffs have alleged

 that they conferred a benefit on Finnegan and McGrath, Plaintiffs have failed to allege facts

 demonstrating that those Defendants knew and should have expected to pay for that time off.
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 Accordingly, Plaintiffs have stated an unjust enrichment claim only with respect to McGowan.

          L.      Tortious Interference with Economic Relations and an Existing Contract


        Plaintiffs’ last remaining claims are that all Defendants tortiously interfered with: (i)

  economic relations with [Plaintiffs’] donors, customers, and clients”; and (ii) a contract between

 Plaintiffs and a substantial donor for sponsorship of a series of events. Dkt. 15      258, 261,267.

 It is well-settled that, in Virgina, to establish a claim for tortious interference with a contract, a




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          The Court notes that Plaintiffs’ argument in the Opposition Brief regarding the unjust
 enrichment claim does not separately address the five individual claims and merely argues in
 conclusory terms that they have satisfied the elements of an unjust enrichment claim. Dkt. 24 at
 28.

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 plaintiff must allege: (i) the existence of a valid contractual relationship; (ii) knowledge of that

 contractual relationship on the part of the interferor; (iii) intentional interference inducing or

 causing a breach or termination of the relationship; and (iv) resultant damage to the plaintiff.

 Lightfoot V. Richmond Pub. Schs., 2017 WL 3476224, at *3 (E.D. Va. Aug. 11, 2017). Tortious

 interference essentially requires that Plaintiffs allege the same elements, except that Plaintiffs must

 show “the existence of a business relationship or expectancy” and “a reasonable certainty that

 absent defendant’s intentional misconduct, plaintiff would have continued in the relationship or

 realized the expectancy.” Glass v. Glass, 228 Va. 39, 51-52 (1984).

        To begin with, Plaintiffs’ tortious interference claims fail because they are inextricably

 linked with Plaintiffs’ defamation claims (both are premised on the defamatory nature of the Soros

 Files) which this Court has already dismissed. Dkt. 15 fl 260, 271 (linking withdrawal of donors

 to the Soros files); see Lokhova v. Halper, 441 F. Supp. 3d 238, 265 (E.D. Va. 2020) (“Lokhova’s

 tortious interference claim is effectively duplicative of her defamation claim.”). Next, the claims

 fail because Plaintiffs have failed to identify any specifics about the expectancy or contract with

 which Defendants allegedly interfered. See, e.g.,Sandhir v. Little, 2019 WL 1375595, at *9 (N.D.

 W. Va. Jan. 23, 2019) (finding that plaintiff failed to meet Twombly and Iqbal pleading standard

 where the plaintiff failed to allege details about the business relationship). As judges within this

 District recognize, a plaintiff must plead a speciifc expectancy or contract. GEICO v. Google, Inc.,

 330 F. Supp. 2d 700, 705 (E.D. Va. 2004). Although Plaintiffs have alleged the existence of a

 contract, the references to an unspecified donor leave Defendants and the Court without

 information as to with whom Defendants are alleged to have interfered. This leads to the next

 issue with Plaintiffs’ pleadings, that is. Plaintiffs have failed to plead knowledge of the specific

 contract or expectancy on the part of Defendants. This is especially true where the Individual



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 Defendants are alleged to have left Plaintiffs in March 2023 and the withdrawal by the unidentified

 donors is alleged to have occurred in February 2024. There are no allegations from which the

 Court can infer that the Individual Defendants would have had knowledge of those expectancies


 or that contract at the time they left Plaintiffs’ employment. Plaintiffs essentially concede that

 they have failed to allege this element in conclusory terms. Dkt. 24 at 30 (asserting that they pled

 the elements of a tortious interference claim).       But pleading mere elements of a claim are

 insufficient to satisfy Iqbal and Twombly. See, e.g., Lokhova, 441 F. Supp. 3d at 265 (dismissing

 tortious interference claim where ”[a]part from vague and conclusory language” the complaint

 failed to plead that any defendant “was aware of any specific contracts”). Accordingly, the Court

 will grant the motion to dismiss with respect to Counts XXII and XXIII.

                                 M.      Supplemental Jurisdiction

        After resolving all of the arguments regarding the merits of the Motion to Dismiss, the

 Court has dismissed all of the federal claims. All that remains are two state law claims (Count 111


 and part of Count XXI). Thus, the Court must now determine whether it will exercise supplemental
                                             19
 jurisdiction over those remaining claims.

        Section 1367(a) of Title 28 of the United States Code provides that “in any civil action of

 which the district courts have original jurisdiction, the district courts shall have supplemental

 jurisdiction over all other claims that are so related to claims in the action within such original

 jurisdiction that they form part of the same case or controversy.” A court may, however, decline to

 exercise supplemental jurisdiction when, such as the present case, “the district court has dismissed




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           The parties are not completely diverse as Plaintiffs and Axler are alleged to reside in
 Alexandria, Virginia. Moreover, the damages associated with Count III and Count XXI against
 McGowan are alleged to be approximately $14,362.79. Accordingly, the remaining claims also
 do not allege damages in excess of $75,000.
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 all claims over which it has original jurisdiction.     28 U.S.C. § 1367(c).     When claims are

 dismissed in the early stages of the litigation, the “values of judicial economy, convenience,

 fairness, and comity” weigh in favor of dismissing the remaining state law claims. Alston v.

 Anderson, 2023 WL 416197, at *7 (E.D. Va. Jan. 25, 2023). Accordingly, the Court declines to

 exercise supplemental jurisdiction over Plaintiffs’ remaining state law claims and will dismiss

 those claims on that basis.


                                          IV.     CONCLUSION


        In sum, the Court will dismiss the Amended Complaint because Plaintiffs have failed to

 state a claim with respect to all but two state law claims and, with respect to those two state law

 claims, the Court will decline to exercise supplemental jurisdiction. The parties, however, did not

 discuss amendment or whether it is futile for Plaintiffs to    amend.    Although Plaintiffs have

 previously amended in light of a motion to dismiss by Defendants, this is the first time that

 Plaintiffs have the benefit of the Court’s determinations as to their claims.   Because the Court


 cannot say on this record that it would be futile for Plaintiffs to amend, the Court will grant

 Plaintiffs one opportunity to file an Amended Complaint.

        Accordingly, it is hereby ORDERED that the Motion to Dismiss (Dkt. 19) is GRANTED

 IN PART and DENIED IN PART. The Motion is granted with respect to Counts I, II, IV, V, VI,

 VII, VIll, IX, X, XI, XII, XIII, XIV, XV, XVI, XVII, XVIII, XIX, XX, XII, XXIII, and granted

 in part with respect to Count XXI as it pertains to Defendants McGrath and Finnegan. The Motion

 is denied with respect to Counts III and XXI as it pertains to Defendant McGowan; and it is

        FURTHER ORDERED that the Court DECLINES to exercise supplemental jurisdiction


 over Counts III and XXI; and it is




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         FURTHER ORDERED that the Amended Complaint (Dkt.                      15) is DISMISSED

 WITHOUT PREJUDICE; and it is

         FURTHER ORDERED that, if Plaintiffs wish to file an amended complaint, Plaintiffs must

 do so by March 3, 2025. If Plaintiffs fail to file an amended complaint by that date, then the Court

 will direct the Clerk to close this civil action.


         It is SO ORDERED.                                                                       A


                                                                                            A
 Alexandria, Virginia                                                            /s/
 February/^, 2025
                                                              Rossie D. Alston, Jr
                                                              United States District Judge




                                                     37
